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1               IN THE UNITED STATES DISTRICT COURT
2               FOR THE SOUTHERN DISTRICT OF INDIANA
3
         PEOPLE OF THE ETHICAL   )
4        TREATMENT OF ANIMALS,   )
         INC.,                   )
5                                )
                    Plaintiffs,  )           No. 4:17-CV-00186-RLY-DML
6                                )
              vs                 )
7                                )
         WILDLIFE IN NEED AND    )
8        WILDLIFE IN DEED, INC., )
         TIMOTHY L. STARK,       )
9        MELISA D. STARK AND     )
         JEFF LOWE,              )
10                               )
                    Defendants.  )
11
12
13            The ZOOM VIDEOCONFERENCE deposition of
14                        LAUREN LOWE
15      called for examination pursuant to notice and
16      pursuant to the Federal Rules of Civil Procedure for
17      the United States District Courts pertaining to the
18      taking of depositions taken before JO ANN LOSOYA,
19      Certified Shorthand Reporter, within and for the
20      County of Cook and State of Illinois via ZOOM
21      VIDEOCONFERENCE on June 15, 2020 at the hour of 9:00
22      a.m. CST.
23
24
25

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1       APPEARANCES VIA ZOOM/AUDIO CONFERENCE:
2             PETA FOUNDATION
              MR. ASHER SMITH
3             MR. GABRIEL WALTERS
              MS. CAITLIN HAWKS
4             MS. BRITTANY PEET
              1536 16th Street NW
5             Washington DC 20036
              (202) 483-7382
6             ashers@petaf.org
              Gabew@petaf.org
7             caitlinh@petaf.org
8             BARNES & THORNBURG, LLP
              MR. PAUL OLSZOWKA
9             One North Wacker Drive
              Suite 4400
10            Chicago,Illinois 60606
              (312) 357-1313
11            paul.olszowka@btlaw.com
                   Appeared on behalf of PETA.
12
                           *****************
13
        APPEARING NON-VIDEO:
14
                 CULOTTA LAW
15               MR. JAMES CLAYTON CULOTTA
                 815 East Market Street
16               New Albany, Indiana 47150
                 (812) 941-8886,
17               clay@culottalaw.com
                      Appeared on behalf of the Defendant
18                    Wildlife in Need and Wildlife in Deed;
                      Tim Stark.
19
                           *****************
20
        ALSO PRESENT VIA ZOOM NON-VIDEO PARTICIPANTS:
21
                 Mr. Tim Stark
22               Mr. Tim Tupiak, Video Tech.
23
        REPORTED BY:      JO ANN LOSOYA
24      CSR LICENSE:      084-002437
25

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1                                    EXAMINATION
2       Witness                                             Page       Line
3       LAUREN LOWE
4        By Mr. Smith                                           4         7
5
6                                 ***************
7                                 E X H I B I T S
8
9                             (No exhibits marked.)
10
11
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1                             (Witness sworn at 9:05 a.m.)
2       WHEREUPON:
3                               LAUREN LOWE,
4       called as a witness herein, having been first duly
5       sworn, was examined and testified as follows:
6                           E X A M I N A T I O N
7       BY MR. SMITH:
8              Q.       My name is Asher Smith.            I am litigation
9       manager with the PETA Foundation and Counsel for
10      People for the Ethical Treatment of Animals, and I'm
11      here today to conduct the deposition of Lauren Lowe
12      pursuant to a subpoena to testify.                 The subpoena
13      required the deponent to be available either via
14      internet-based video teleconferencing or by
15      telephone if internet service is not available.
16                          It is PETA's position that the
17      deponent in order to comply with the subpoena needs
18      to be able to access the exhibits, either via video
19      or by email, and it is PETA's position the deponent
20      is not currently complying with the subpoena.
21                          That said, we will continue to move
22      forward, and if it poses an issue, we would reserve
23      the right to pause the deposition and seek an order
24      from the court.
25                          That said, Lauren, I understand that

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1       you were present during your husband's May 27, 2020
2       deposition before he hung up on the proceedings.
3       Nevertheless, I want to remind you of a couple of
4       quick ground rules.
5                             Please speak clearly for the court
6       reporter, especially because you are --
7              A.       I'm sorry, but you're making an
8       assumption.       I'm just going to interrupt you there.
9       You're making an assumption.                You think I was there
10      the whole time.
11             Q.       Were you present during your husband's
12      deposition?
13             A.       You're making an assumption that I was
14      there the whole time.
15             Q.       I just asked you a question.           Were you
16      present during your husband's deposition?
17             A.       And I made my answer.
18             Q.       I asked you a yes or no question.            Were
19      you present during your husband's deposition?
20             A.       No.     You didn't ask me a yes or no
21      question.       You said I was, and I'm telling you I was
22      only there part time.
23             Q.       Correct me.       Were you present during your
24      husband's deposition?
25             A.       Okay.     Next question.

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1              Q.       Were you present --
2              A.       Until my daughter starts crying, I'm
3       going to end this because you -- this is wasting my
4       time for $40.
5              Q.       Were you present during your husband's
6       deposition?
7              A.       Godd mn, not the whole thing.
8              Q.       For which portions of your husband's
9       deposition were you present?
10             A.       I don't remember.         You were there.
11             Q.       The deposition lasted under an hour and
12      was conducted via video.           Were you there for the
13      beginning of the deposition?
14             A.       I don't remember.         My daughter is a
15      little bit more important than this.
16             Q.       Can we go off the record for two seconds?
17             A.       No, we cannot.       Let's stay on record.
18      Keep going.       Like I said, my daughter is going to
19      start crying here in a minute.
20             Q.       Ms. Lowe, under Federal Rules of Civil
21      Procedure 30 --
22             A.       It is actually Mrs. Lowe.          Please make
23      sure you say it correctly.
24             Q.       I'm happy to refer to you however you
25      like me to do so.

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1               A.       Mrs. Lowe.
2               Q.       Mrs. Lowe, under Federal Rule of Civil
3       Procedure 30, PETA is entitled to at least 7 hours
4       of testimony on the record.                 I hope to not need
5       it --
6               A.       That's actually not what your paper says.
7       And as I have the compensation, I'm a free American
8       and this is a civil case that I am not part of.                   You
9       are trying to get information from me that I am not
10      a claimant to.           So unless you are trying to put me
11      in this for absolutely no reason, then this is not
12      any reason to do this other than to harass me.
13              Q.       Okay.     Mrs. Lowe, if you don't let me ask
14      questions, if you continue to interrupt me, and if
15      you continue to threaten to leave this deposition,
16      we're going to pause the deposition, move to compel
17      your participation, and also move for our fees and
18      costs.
19              A.       Good for you.        That will save me two
20      hours today.
21              Q.       As I was saying, per the Federal Rules of
22      Civil Procedure, this deposition is not over until I
23      state on the record that it is.
24              A.       Oh, it's actually over when I say it's
25      over.        Like I said, my family comes first.           PS, it

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1       is the last thing on my list.
2              Q.       I'm simply telling you what is in the
3       Federal Rules of Civil Procedure.
4              A.       No.     Okay.    You're going to have a really
5       hard time with me, Asher, if you don't start
6       cooperating with me.            Didn't you mother ever tell
7       you not to mess with a red head.
8              Q.       Did you review the subpoena that was sent
9       to you today under which --
10             A.       I'm actually on here right now so I did
11      not refuse the subpoena.             So -- and you didn't
12      subpoena me.          You just sent me a letter saying that
13      I had to be on this call.              Now, are we going to get
14      this started or not?
15             Q.       Did you see that the subpoena required
16      you to produce any and all records concerning --
17             A.       And I do not have any records to give
18      you.
19             Q.       Is anyone else sitting within earshot of
20      you?
21             A.       I can't hear you.           What did you say?
22             Q.       Is anyone else sitting within earshot of
23      you?
24             A.       Yeah, the reality people.            I told you
25      this is being recorded for the reality show.

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1              Q.       Will they be providing you information
2       during the deposition?
3              A.       No, no one is providing me anything.
4              Q.       Do you have an official job title or a
5       role with your husband's zoo?
6              A.       Yes, it is called a wife.
7              Q.       What are your responsibilities at the
8       zoo?
9              A.       Being a wife and taking care of things.
10             Q.       What does taking "care of things" entail?
11             A.       Oh, goodness, Asher.           Getting stuff done.
12             Q.       What kind of stuff?
13             A.       Listen, this has nothing to do with me
14      and the zoo at all so my title has nothing to do
15      with what's going in this conference.                  So what the
16      conference is about is because you are trying to get
17      information on my phone.           I do not have that phone
18      and I will not give you my new phone because it has
19      birth pictures of my child being born.                  So this call
20      is a waste of time.
21             Q.       As you're no doubt aware, you and
22      husband's involvement in this lawsuit stems from the
23      fact that according to your husband --
24             A.       I'm sorry.    I'm sorry.           Did you say I'm
25      involved in a lawsuit?          My name is not even

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1       mentioned in the lawsuit.             So are you threatening me
2       with a lawsuit?
3              Q.       Ms. Lowe, please don't interrupt me when
4       I'm asking you questions.             Okay.         You --
5              A.       No, that was what you just said to me.
6       You just said I am in a lawsuit.                    So explain to me,
7       Asher, what do you mean I am in a lawsuit?
8              Q.       Only one person is providing testimony
9       during this deposition.            That is you.
10             A.       And you know what --
11             Q.       Ask any questions you want.                  I am not
12      going to testify --
13             A.       If you want to be a good lawyer, then
14      start acting like a good lawyer.
15             Q.       Your husband --
16             A.       Now what do you mean I am in a lawsuit?
17      Explain that to me.
18             Q.       Your husband testified --
19             A.       Now you're threatening me.
20             Q.       Your husband testified that Mr. Stark
21      drove up to your facility with four lion cubs, sat
22      them on the ground, and said here, take care of
23      these.      So to start off --
24             A.       Okay.
25             Q.       -- is that everything remember about that

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1       incident?
2               A.      That's all I remember.
3               Q.      Do you remember how Mr. Stark transported
4       these lions to your facility?
5               A.      In a truck.
6               Q.      What kind of truck?
7               A.      In his Dodge Ram 1500 -- I'm sorry -- his
8       3500.
9               Q.      Did you see from which part of the
10      vehicle Mr. Stark took the lion cubs out of, was it
11      the front seat or the back seat or the cab?
12              A.      No, I do not.       I don't know why that's
13      even necessary to know.            It was obviously not the
14      driver's side.
15              Q.      Do you know if Mr. Stark provided any
16      kind of ventilation or temperature control for the
17      cubs during the trip?
18              A.      I would assume so since they were in a
19      truck.
20              Q.      But you do not know so?
21              A.      But see, I can't assume anything because
22      then that just makes it wrong so...
23              Q.      Did Mr. Stark say anything about the trip
24      to your facility that he took with these lion cubs?
25              A.      Nope.

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1              Q.       Your husband testified that, "I think by
2       the time I walked out there, the lions were sitting
3       on the ground in a carrier."                Do you recall that?
4              A.       Okay.     So then how would I know what side
5       of the truck they came out of?
6              Q.       Do you recall the cubs --
7              A.       That wouldn't make any sense why you
8       would ask a question like that.
9              Q.       Mrs. Lowe, this is not an argument.                This
10      is a deposition.          Answer the questions I ask.
11             A.       Well, then don't ask me stupid questions,
12      please.
13             Q.       I will ask you a number of questions that
14      I am sure you will consider stupid.                  You still have
15      to answer them.
16             A.       Well, I beg to differ, but go on.
17             Q.       Do you recall the cubs sitting on the
18      ground in a carrier?
19             A.       No.     I don't recall that.          I remember
20      them being carried in.
21             Q.       By whom?
22             A.       Stark.
23             Q.       Where did he carry them to?
24             A.       My house.
25             Q.       Did the cubs remain in your house after

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1       that, is that where they lived?
2               A.       Yes.
3               Q.       For how long did the cubs live in your
4       home?
5               A.       Four months until they got better.
6               Q.       What did they need to get better from?
7               A.       Because they were cubs.             They needed to
8       be taken care of.
9               Q.       I asked your husband, "Did the cubs show
10      any negative effects from their transport?"                   He
11      said, "I'm not a vet.          I don't know what caused
12      their negative effects."            Do you recall --
13              A.       I cannot give you any type of health
14      information because it's protected by HIPAA.
15              Q.       Okay.   HIPAA only protects information
16      pertaining to human --
17              A.       And this is information pertaining to
18      animals.        So I'm not giving you any of the
19      information because it is protected by HIPAA.
20              Q.       Is it your testimony that there is
21      information you are not disclosing because you
22      believe it is protected by HIPAA?
23              A.       I'm not giving you any health information
24      because it is protected by HIPAA.                   Now, unless you
25      want to take it up with HIPAA, then you do that

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1       because it seems like you guys like to take
2       everything up with somebody, picking on everyone.
3              Q.         Did the cubs need any medical attention
4       after they arrived?
5              A.         That is being protected by HIPAA.
6              Q.         Mrs. Lowe, I can tell you with complete
7       certainty that HIPAA does not cover the medical
8       information of animals.
9              A.         I'm sorry.   You cannot give me -- are you
10      giving me legal advice?
11             Q.         I am telling you what HIPAA is.              You're
12      making a --
13             A.         Okay, it sounds more like you're giving
14      me legal advice and that's not something that a
15      lawyer like you should be doing.                    Correct?
16             Q.         I am telling you that beyond of a shadow
17      of doubt, HIPAA only covers the disclosures made by
18      a physician --
19             A.         I'm sorry.   I can't talk to a PETA
20      lawyer.         You guys have a bad rep.             Next question.
21             Q.         Who was responsible for taking care of
22      these cubs when they lived in your home?
23             A.         Me and my husband.
24             Q.         Could you explain how you took care of
25      these cubs?

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1              A.       Feed them, bathe them, make sure they had
2       clean bedding.
3              Q.       What did you feed them?
4              A.       KMR.     It's a kitten milk replacement.
5              Q.       For how long did you feed them KMR?
6              A.       I don't have that information on me.
7              Q.       Were they fed KMR for the entire time
8       they lived in your home?
9              A.       Yes.
10             Q.       So for months?
11             A.       I don't have that information on me, but
12      yes.
13             Q.       I'm going to read you a statement that
14      Tim Stark filed with the court in this litigation.
15      It can be found in the public docket as ECF number
16      260.
17                             The document reads:           "Tim Stark would
18      like to formerly notify the court of four big cat
19      cubs born on my property, one being born on July 8,
20      2019, and three more on August 7, 2019.                   Mr. Lowe
21      was on my property from July 11th through the 13th
22      and observed two lionesses that were pregnant.                     He
23      gave specification instructions to have the cubs
24      pulled when born and delivered to him at 25803 North
25      County Road 3250, Wynnewood, Oklahoma, 73098.                   It

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1       was reiterated to me multiple times by Mr. Lowe that
2       he was the rightful owner and that f ck PETA and
3       f ck that judge.        I am not part of that lawsuit and
4       they have no jurisdiction over me.                  I am the legal
5       owner of those cats."
6              A.       I'm sorry.     But you're reading something
7       to me that I wasn't there for, but when did you guys
8       ever start believing Tim Stark?
9              Q.       Mr. Stark --
10             A.       You guys have said he's been lying the
11      whole time so why now believe him?
12             Q.       Mr. Stark continued:            "Following the
13      instruction of their owner, Mr. Lowe, the cubs were
14      taken to his property at 25803 North County Road
15      3250, Wynnewood, Oklahoma, 73098, on August 12,
16      2019."
17                          I'd like to ask you:             Are there any
18      aspects of that statement I read that are not true?
19             A.       Well, first of all, like when did you
20      ever start believing Tim Stark and every single word
21      that came out of his mouth?               And first of all, I was
22      not there.       And, of course, we're all going to say
23      "f ck PETA," but I'm pretty sure we didn't say "f ck
24      the judge."       But that sounds more like a Tim Stark
25      to begin with.       Every word that comes out of his

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1       mouth is an "F" word.
2               Q.      Do you know if your husband was on
3       Mr. Stark's property from July 11 through the 13th,
4       2019?
5               A.      I don't know.
6               Q.      Do you know if your husband gave
7       instructions to have the cubs pulled when born?
8               A.      That doesn't sound like my husband to do
9       that because if we knew about that, we wouldn't have
10      been so shocked to have cubs arrive at our house.
11              Q.      Did you ask Mr. Stark why he brought the
12      cubs to your house?
13              A.      No because he just drops things off.
14              Q.      Did you ever express that shock to him?
15              A.      I don't even remember.
16              Q.      I showed your husband a Facebook post
17      from the account Jeff Negan Lowe, which he testified
18      may have been authored either by himself or by you,
19      in which he or you wrote:             "Let me show you what a
20      total dumb-a s Tim Stark is.               He lied to a Federal
21      judge by telling the judge that I instructed him to
22      pull lion cubs.       What he didn't know was that Lauren
23      recorded him talking about pulling the cubs and
24      asked me to lie to the USDA.               I also made sure to
25      text Stark about him pulling the cubs against a

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1       court order."
2                             Were you recording Stark?
3              A.       The federal agents have that so I no
4       longer have that recording.
5              Q.       So you were recording Tim Stark when he
6       arrived?
7              A.       No.    I was recording him at a restaurant.
8              Q.       What did he discuss at the restaurant?
9              A.       Well, I can't explain every single thing
10      I said at the restaurant.             That happened almost a
11      year ago.
12             Q.       Do you recall what he said that you
13      thought was significant enough to hand over to
14      federal investigators?
15             A.       It has everything to do with what goes on
16      in the animal industry.            That actually has nothing
17      to do with you.         So it was enough for me to hand it
18      over to the people who are more important.
19             Q.       Did Tim Stark say anything that you felt
20      was incriminating?
21             A.       It was enough for me to hand it over to
22      the federal agent.         They have it.            So I no longer
23      have the recording.
24             Q.       What did Tim Stark say that you felt was
25      incriminating?

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1              A.       I no longer have the recording.            I do not
2       remember.
3              Q.       Do you remember an approximate date on
4       which you may have made this recording?
5              A.       I just said I do not remember.
6              Q.       Was it on or around August 12, 2019?
7              A.       I do not remember.
8              Q.       Do you believe it was in August of 2019?
9              A.       I don't know.
10             Q.       How did you record Mr. Stark?
11             A.       With my phone.
12             Q.       What kind of phone?
13             A.       I don't remember.
14             Q.       When you say you no longer have this
15      recording, why do you no longer have it?
16             A.       Because the federal agents have it.
17                          They do have it, Jeff.
18             Q.       Did you send them the phone in the mail?
19             A.       I don't know.       But listen, I'm going to
20      have to end this pretty soon because my daughter is
21      crying and she needs to be taken care of and I don't
22      really need to be here.
23             Q.       How do you know the federal agents have
24      the phone?
25             A.       I don't know if they still have it.

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1              Q.       Did you send it to them?
2              A.       Oh my goodness, I handed it to them.               I
3       don't know what they did with it after that.
4              Q.       How did Mr. Stark ask your husband to lie
5       to the USDA about these cubs?
6              A.       He was telling him to say that they were
7       born here.
8              Q.       Did Tim Stark say anything else about
9       these cubs?
10             A.       Did what?
11             Q.       Did Tim Stark say anything else about
12      these cubs?
13             A.       No.
14             Q.       Did your husband ever say that the cubs
15      were born on your property?
16             A.       No.
17             Q.       Do you currently have acquisition records
18      for these cubs?
19             A.       That would be my husband's deal.
20             Q.       Is your husband currently present during
21      this deposition?
22             A.       No.
23             Q.       Mr. Stark stated in the document he filed
24      with the court that "it is my understanding that
25      Mr. Lowe has now listed the cubs on his USDA

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1       inventory to his inspector as having been born there
2       to a female named Samira."
3                             Is this untrue?
4              A.       I have no idea.
5              Q.       What do your acquisition records say
6       about how these cubs arrived at your facility?
7              A.       I don't have access to those.
8              Q.       Where are they kept?
9              A.       I don't have access to those.
10             Q.       Do you know where they are kept?
11             A.       It sounds like you're trying to break
12      into my facility.
13             Q.       Do you know where the records are kept?
14             A.       It sounds like you're trying to plan to
15      break into this facility.             It sounds like it.
16             Q.       Mrs. Lowe, please answer the question.
17             A.       Should I be worried?            Because it sounds
18      like you guys are trying to do that.
19             Q.       Did someone else just speak to you?
20             A.       No.    Now, are you trying to break into
21      this facility to try to steal records?
22             Q.       Where are the acquisition records kept at
23      your facility?
24             A.       Asher, you ask me this question one more
25      time and I'm giving you the same answer, and I'm

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1       going to hang up.
2               Q.        You have at this point not given an
3       answer.         Are you refusing to answer?
4               A.        I have given you an answer.         I have just
5       said I don't have access.
6               Q.        Why do you not have access?
7               A.        Next question.
8               Q.        Why do you not have access to these
9       records?
10              A.        It's not my USDA license.
11              Q.        So it would be impossible for you to
12      right now go and review --
13              A.        I'm not doing anything that I have no
14      access to.
15              Q.        Is access to these records restricted?
16              A.        Definitely from you.
17              Q.        Are they restricted from you?
18              A.        They're definitely restricted from you.
19              Q.        That was not my question.         My question
20      is --
21              A.        And that's my answer.
22              Q.        -- are you restricted from accessing
23      these records?
24              A.        I have no access to these records.           If I
25      have no access, then I have no access.                Next

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1       question, Asher.
2              Q.       What does "I have no access" mean?
3              A.       Good God, you are the dumbest lawyer I
4       have ever met.
5              Q.       In what way do you have no access?
6              A.       Literally, if you ask me that question
7       one more time, I'm going to make you famous.
8              Q.       When you say that you cannot access these
9       records, what is preventing you from accessing them?
10             A.       Okay.     Don't have a key.
11             Q.       Do you know the names of these four
12      lions?
13             A.       Possibly.
14             Q.       What are their names?
15             A.       Their names change.
16             Q.       What are their names currently?
17             A.       I don't know right now.
18             Q.       Can you tell me names that they have been
19      called by that you remember?
20             A.       Let me think.        No, I don't.
21             Q.       You don't remember any of their names
22      that they have ever been called by?
23             A.       No.     I'm sorry.
24             Q.       Do you recall that during your husband's
25      deposition you reminded him that the one lion cub

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1       died at Mr. Stark's facility before he brought it to
2       Oklahoma?
3              A.       Yeah, that's what I heard from Stark.
4              Q.       When did he say that?
5              A.       I think he either -- I think he said it
6       at dinner.       I don't know.
7                              I said I think it was at dinner.
8              Q.       What dinner?
9              A.       Where you eat.
10             Q.       The same day he brought the cubs?
11             A.       No.
12             Q.       Do you recall Mr. Stark saying how or why
13      this cub died?
14             A.       Nope.
15             Q.       Are these cubs currently at your
16      facility?
17             A.       Yes.
18             Q.       Are you aware that your husband is not
19      allowed to take any actions that would violate any
20      court orders in our case pertaining to these cubs?
21             A.       That's for my husband's info.           That's not
22      for me.
23             Q.       Are you aware that the Southern District
24      of Indiana has issued an order preventing your
25      husband from allowing the transport of these cubs

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1       from your facility?
2               A.      Like I said, this has nothing to do with
3       me.     I don't know.
4               Q.      Do you know if there are any plans for
5       these cubs to be transferred from your facility?
6               A.      I'm sorry.     Can you say that again?
7               Q.      Do you know if there were any plans for
8       these cubs to be transferred from your facility?
9               A.      I don't know what's going on.           Are you
10      paying the bill?
11              Q.      Are you aware that an Oklahoma Federal
12      District Court on June 1st, 2020, issued an order
13      requiring you and your husband --
14              A.      I'm sorry.     If I remember correctly, I
15      think my husband offered you the cubs as long as you
16      paid the bill, which is $100 per cub every day, so
17      that's $400 dollar a day.             So unless you are going
18      to pay the bill, the boarding bill of them being
19      here, then we really don't have much more further
20      questions.       And it is an agister thing.           So you make
21      your choice.
22              Q.      Do you recall that your husband's zoo was
23      awarded to Big Cat Rescue in an order entered by an
24      Oklahoma Federal District Court judge on June 1st,
25      2020?

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1              A.       I don't know.       I got so much going on in
2       my head right now.        This is not my first thing of
3       thought.
4              Q.       Is it news to you that according to this
5       court order, those connected with the Greater
6       Wynnewood Development Group LLC shall vacate the
7       premises of the zoo land within 120 days of the --
8              A.       This has nothing to do -- this
9       absolutely -- doesn't really have anything to do
10      with what's going on.
11             Q.       Is that news to you?
12             A.       I'm not -- No, Asher.
13             Q.       Do you know if there are any plans to
14      transfer these lions after this order goes into
15      effect?
16             A.       Well, they're not going to get abandoned.
17      Are you paying the agister's lien?
18             Q.       Where are the lions going to go?
19             A.       Are you going to pay the agister's lien?
20             Q.       I asked you a question.             Where are the
21      lions going to go?
22             A.       That's not none of your business.
23             Q.       You have to answer the questions I ask
24      you.
25             A.       I just gave you my question answer.                It's

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1       none of your business.           And don't tell me I have to
2       answer a question.        I don't have to answer it.
3              Q.       You understand that this proceeding is
4       governed by the Federal Rules of Civil Procedure?
5              A.       Do you also understand that order out of
6       Oklahoma is federal?
7              Q.       So after the order out of the Oklahoma
8       Federal District Court takes effect and you and your
9       husband and the zoo have to vacate the premises,
10      where will these lion cubs go?
11             A.       None of your business.
12             Q.       Are you aware that these lion cubs are
13      part of the litigation that your husband is a
14      defendant in?
15             A.       Just as much as they are at the Oklahoma
16      court.
17             Q.       You understand that in order to transfer
18      these lions, your husband will have to seek leave of
19      the Southern District of Indiana?
20             A.       We'll risk it.
21                          We will risk it.
22             Q.       What will you be risking?
23             A.       Your answer to your stupid questions.
24             Q.       Is it your testimony that you and your
25      husband plan to transfer these cubs from your

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1       facility regardless of existing court orders from
2       the Southern District of Indiana?
3              A.       We can't comply with both orders so we're
4       just going to pick one.            Oklahoma.
5              Q.       Will the cubs be at the new zoo that your
6       husband has represented he will be opening in
7       Thackerville, Oklahoma?
8              A.       That's none of your business.
9              Q.       Do you know if this new zoo has
10      sufficient enclosures for all the big cats currently
11      at your facility?
12             A.       That is none of your business.
13             Q.       Can you describe the enclosures in which
14      the four lions we have been discussing will be
15      housed in the new facility?
16             A.       That is none of your business.
17             Q.       Can you describe the approximate
18      dimensions of the enclosures?
19             A.       That is none of your business.
20             Q.       Do these enclosures have lockout areas?
21             A.       Until you buy a ticket, we'll talk, but
22      that's none of your business.
23             Q.       Do you know the approximate height of the
24      fencing for these enclosures?
25             A.       This is none of your business.

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1              Q.       Will these enclosures contain shelter
2       areas sufficient to contain all four lions?
3              A.       Well, we'll just say that our enclosures
4       are much better than Pat Craig's.                   They're a lot
5       higher than his.        I don't know how he passes USDA
6       inspection, but you know, apparently he's your guy.
7              Q.       Are you refusing to answer?
8              A.       It's none of your business what goes on
9       at the zoo.
10             Q.       Are the four lion cubs currently housed
11      together?
12             A.       None of your business.
13             Q.       Will the four lion cubs currently be
14      housed -- will the four lion cubs currently housed
15      together be housed together at the new facility at
16      Thackerville?
17             A.       None of your business.
18             Q.       In what way is it none of our business
19      whether these four lion cubs are currently housed
20      together?
21             A.       We haven't amend those decisions yet, but
22      again, if you're going to pay the agister's lien of
23      $400 a day since they have been there, we will talk
24      some more.
25             Q.       I'm sorry.     What does an amended petition

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1       have to do with whether or not you can tell me
2       whether these four lion cubs are currently housed
3       together?
4               A.      Because it's none of your business.
5               Q.      These four lions are subject to a
6       litigation taking --
7               A.      No, actually, you have subjected me here
8       because there was supposedly a claim of me having a
9       recording.       It had nothing to do about talking about
10      lion cubs.       So unless we're going to stay on topic
11      about this recording, which should only have lasted
12      about 10 minutes, not 43 minutes, then this is
13      wasting my time because now you're just fishing for
14      information that I don't have.
15              Q.      Mrs. Lowe, the subpoena commanded you
16      appear at the time, date, and place set forth in
17      your deposition --
18              A.      And it didn't command me to stay.
19              Q.      The deposition subpoena was not limited
20      to --
21              A.      It didn't command me to stay.
22              Q.      I'm --
23              A.      So unless you are going to be very
24      nice -- be nice, Asher -- then we will talk, but
25      don't ask me stupid questions and repetitive

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1       questions.       Okay.
2              Q.       Mrs. Lowe, the deposition subpoena --
3              A.       Mr. Asher.     I'm glad we know each other's
4       names.
5              Q.       The deposition subpoena under which you
6       are appearing is not limited to any specific topic.
7       I am allowed to ask you --
8              A.       Well, then how -- then how did you serve
9       me the subpoena?         Because all it said on the thing
10      was recording and this is not what this is about.
11      You are fishing.         So proper serve me.             Because you
12      have already threatened to put me in this lawsuit
13      for absolutely no purpose.
14             Q.       I have not threatened you.               I have
15      merely --
16             A.       Yes, you did.       You actually did at the
17      beginning of the call.           I have it on recording.
18             Q.       According to the deposition subpoena
19      under which you are appearing, you are commanded to
20      appear at the time, date, and place set forth to
21      testify at a deposition in this civil action.
22             A.       Okay.    So take it up.             Take it up with
23      the judge and let the judge hear actually what
24      really happened and what you said.                    You have
25      threatened me to put me in a lawsuit that I am not

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1       part of.        This only was supposed to be taken about a
2       recording.        Now you are fishing for other
3       information, Asher, that doesn't pertain to me that
4       I said I had no access to.               So make up your mind.
5              Q.        I don't know where you got the idea that
6       this deposition is only about one topic, but this
7       deposition --
8              A.        Because it showed up in the -- it showed
9       up on the piece of paper saying that it was for
10      recording devices.          Now I said I don't have the
11      recording devices so honestly this conference should
12      be over.
13             Q.        I am allowed to ask you for any
14      non-privileged information --
15             A.        And I'm allowed to refuse.
16             Q.        You are not.
17             A.        Yes.    Oh, now you just told the wrong
18      person to say that I can't do something.                Asher.
19      You should know better.             Don't ever tell me no again
20      because I'll treat you wrong.
21             Q.        Let's go off the record for a moment.
22             A.        No.    Let's stay on record.        No, Asher.
23      On record.        Keep going.       You scared?
24             Q.        Excuse me.     We're going to go off the
25      record for a moment.

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1              A.       No.    We're staying on record.         If we're
2       going off record, then I'm getting off the phone.
3       Make up your mind.
4              Q.       We're going to reconvene --
5              A.       No. We're staying on record.           Keep going.
6              Q.       We're going to reconvene this deposition
7       in five minutes, and I expect you to still be on the
8       line when we reconvene.
9              A.       Oh, I'm sorry.        You can't expect me to do
10      anything for you.          Got it.      So I'm going to take
11      care of my child now if you don't start asking real
12      questions because all you are doing is repeating
13      yourself and I'm sure that the people on the other
14      end are absolutely enjoying this call.
15             Q.       What is happening --
16             A.       No, stay on record or we end it.
17                            You got five seconds to ask a
18      question or I hang up.
19             Q.       Do you have any intention of answering
20      any questions I ask you during this deposition?
21             A.       You are going to ask me a question about
22      a question?
23             Q.       Do you have any intention --
24             A.       Come on.
25             Q.       -- of answering questions I ask you

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1       during this deposition?
2              A.       I have already answered all of them, and
3       I keep telling you none of it is any of your
4       business.
5              Q.       Do you plan to answer all of the
6       remaining questions I have to ask you with other
7       than it is none of business?
8              A.       No, I don't plan to because I have things
9       that I need to do.        Because none of these questions
10      are related to what the piece of paper was about,
11      which was about a recording.               So unless you are
12      going to ask me questions about a recording that I
13      don't remember that I no longer have, then this call
14      is over.
15             Q.       Mrs. Lowe, I'm going to continue to ask
16      you relevant questions about the facts at issue in
17      this litigation.
18             A.       The facts at issue is what was on the
19      piece of paper of you asking me about a recording.
20      It had nothing to do about the cats that I don't
21      remember, that I don't have any information to.                    You
22      are asking like for information that I don't have
23      any access to, such as any type of USDA records, by
24      which by the way you are not USDA so you will not
25      have any access to it.

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1                            So until then, you will probably just
2       have to get it from the USDA or something like that.
3       You will not get it from me.               I have no access to
4       it.    It's not any of my problem.                  It is not my
5       information.        So we will end this.
6                            You got five seconds to ask another
7       question.
8                            All right, guys.           Well, great, guys.
9       It was good to have a good talk with you.                    Thank you
10      so much.        I got to go take care of my child.                 She's
11      screaming.        Unless you guys are going to pay for my
12      nanny, have a good day.
13                                   (Exit Lauren Lowe.)
14             Q.        I have additional questions to ask you.
15                           Okay.     Let the record show that
16      Lauren Lowe has hung up on this deposition after
17      approximately 40 minutes on the record.                    She refused
18      to answer practically any questions I asked her
19      during the deposition stating throughout that it was
20      none of my business.           When I asked her about whether
21      the big cat cubs were suffering from any medical
22      conditions or had previously, she told me that that
23      information was protected by HIPAA.
24                           We are going to now go off the record
25      for a second while I speak to my colleagues.

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1                                 (Whereupon, a break in the
2                                 proceedings was taken.)
3                       MR. SMITH:     This is Asher Smith, counsel
4       for PETA.       I just want to state on the record that
5       PETA will not be closing the deposition.                PETA --
6       this deposition is open pending PETA filing a motion
7       with the appropriate court to compel Mrs. Lowe to
8       complete this deposition.
9                           With that, we can go off the record.
10                                (Off the record at 10:05 a.m.)
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1                           REPORTER CERTIFICATE
2
3                       I, JO ANN LOSOYA, a Certified Shorthand
4       Reporter within and for the County of Cook and State
5       of Illinois, do hereby certify:
6                               That previous to the commencement
7       of the examination of the witness, the witness was
8       duly sworn to testify the whole truth concerning the
9       matters herein;
10                              That the foregoing deposition
11      transcript was reported stenographically by me, was
12      thereafter reduced to typewriting under my personal
13      direction and constitutes a true record of the
14      testimony given and the proceedings had;
15                              That the said deposition was taken
16      before me at the time and place specified;
17                              That I am not a relative or
18      employee or attorney or counsel, nor a relative or
19      employee of such attorney or counsel for any of the
20      parties hereto, nor interested directly or
21      indirectly in the outcome of this action.
22
23
24
25

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1                       IN WITNESS WHEREOF, I do hereunto set my
2       hand this June 15, 2020.
3
4
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6
7
8                       <%2166,Signature%>
                        JO ANN LOSOYA, CSR
9                       C.S.R. No. 84-002437
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